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UNITED STATES DISTRICT COURT pain 4'¢ D-C-
WESTERN DISTRICT OF TENNESSEEJUL 20 m m: 05

WE'STERN DIVISION

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TI'IOMAS J. NEWSOME JUDGIENT IN A CIVIL CASE

v.

RON'NIE COLE CASE N`O: 05-2013-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of
Dismissal entered on July 13, 2005, this cause is hereby dismissed
without prejudice.

 

 

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mm Rule 58 and/or 79(3) FF‘.CP on

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-020]3 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Thomas J. NeWsome

WEST TENNESSEE STATE PENITENTIARY
109748

P.O. Box l 150

Henning, TN 38041

Honorable Bernice Donald
US DISTRICT COURT

